                                                                                           DISTRICT OF OREGON
                                                                                               FILED
                                                                                            December 06, 2019
                                                                                        Clerk, U.S. Bankruptcy Court



         Below is a judgment of the court. If the judgment is for
         money, the applicable judgment interest rate is: As noted in
         the Judgment below.




                                                                                   _____________________________
                                                                                          TRISH M. BROWN
                                                                                        U.S. Bankruptcy Judge




                                    IN THE UNITED STATES BANKRUPTCY COURT

                                                   FOR THE DISTRICT OF OREGON

       In re

       Sean Perry Clark and Lisa Marie Clark,                      Case No. 19-33355-tmb13

                                    Debtors.

       Sean Perry Clark and Lisa Marie Clark,                      Adversary Proceeding
                                                                   Case No. 19-03131-tmb
                                    Plaintiffs,

                          v.
                                                                   STIPULATED JUDGMENT OF NON-
       InRoads Credit Union,                                       DISCHARGEABILITY OF DEBT IN
                                                                   FAVOR OF INROADS CREDIT UNION
                                    Defendant.

                          Based on the settlement between the parties as evidenced by the Stipulation

       endorsed hereon; it is hereby

                          ORDERED, ADJUDGED AND DECREED as follows:

                          1.         The advance obtained by Plaintiffs on July 2, 2019 in the amount of

       $4,320.00 (the “Advance”) pursuant to the VISA account agreement (the “Contract”) from the

       Defendant is hereby declared nondischargeable under 11 U.S.C. § 523(a)(2)(C)(i)(II).

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              FAVOR OF INROADS CREDIT UNION
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                          2.         Plaintiffs shall pay the Advance by making monthly payments of $150.00

       per month on the first day of each month starting one (1) month after entry of the discharge order,

       and continuing each month thereafter until paid in full. The Advance shall not accrue interest until

       the Plaintiffs’ bankruptcy case referenced above (the “Main Case”) is discharged (“Discharge

       Date”). In the event Plaintiffs fail to make payments as agreed, all interest from the date of the

       Advance will be due and owing. After discharge the Advance will accrue interest at the contract

       rate of 8.99%.

                          3.         Defendant shall not add attorney fees incurred in this case prior to discharge

       to the Advance. After the Discharge Date, the parties’ Contract terms shall remain in full force

       and effect, including but not limited to, the addition of attorney fees incurred by the Defendant

       before and after discharge.

                          4.         This Judgment shall be enforceable and shall survive any conversion of the

       Main Case to another chapter under Title 11 of the U.S. Code or any dismissal of the Main Case.

       If the Main Case is dismissed, Defendant shall retain all legal rights and remedies under its

       Contract with Plaintiffs.

                                                             ###

       IT IS SO STIPULATED:
       HACKETT LAW FIRM, LLC                                        FARLEIGH WADA WITT

       By: /s/ Rosemary E. Zook                                     By:/s/ Michelle M. Bertolino
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